           Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 1 of 67


                                No. 25-3493

           IN THE UNITED STATES COURT OF APPEALS
                   FOR THE NINTH CIRCUIT
                           ____________________

       THE STATE OF CALIFORNIA AND GOVERNOR GAVIN NEWSOM,
                                     Plaintiffs-Appellants,

                                    V.

                        DONALD J. TRUMP, et al.,
                                       Defendants-Appellees.
                        ________________________

            On Appeal from the United States District Court
                for the Northern District of California
                        No. 3:25-cv-03372-JSC
               Hon. Jacqueline Scott Corley, District Judge
                          ____________________

                  APPELLANTS’ OPENING BRIEF
                          ____________________

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June 30, 2025
                      Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 2 of 67




                                       TABLE OF CONTENTS

                                                                                                                Page

Introduction .................................................................................................... 1
Jurisdictional Statement ................................................................................. 3
Statement of the Issues................................................................................... 3
Addendum of Statutory Provisions ................................................................ 3
Statement of the Case..................................................................................... 3
         A.        Legal Background ..................................................................... 3
         B.        Factual Background................................................................... 7
         C.        Procedural History................................................................... 10
Summary of Argument ................................................................................ 12
Standard of Review ...................................................................................... 15
Argument...................................................................................................... 15
         I.        This Action “Arises Out of ” IEEPA, a “Law of the United
                   States” ...................................................................................... 15
                   A.       “Arises Out of” Refers to the Substantive Law
                            Giving Rise to the Claims Alleged—Here, IEEPA ...... 15
                   B.       The District Court’s Conclusion That the Lawsuit
                            Does Not Arise Out of IEEPA, but Arises Out of the
                            Executive Orders, Is Unpersuasive ............................... 19
         II.       Congress Did Not Delegate the President Authority in
                   IEEPA to Impose Tariffs ......................................................... 22
                   A.       IEEPA’s Plain Text Does Not Provide for Tariffs ....... 23
                   B.       Statutory Context Confirms That IEEPA Does Not
                            Provide for Tariffs......................................................... 29
                   C.       Legislative History and Historical Practice Confirm
                            That IEEPA Does Not Provide for Tariffs.................... 35
                   D.       Constitutional Principles Support the Conclusion
                            That IEEPA Does Not Provide for Tariffs.................... 39



                                                          i
                      Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 3 of 67




                                      TABLE OF CONTENTS
                                          (continued)
                                                                                                             Page

         III.     Defendants’ Other Arguments Are Unpersuasive .................. 41
                  A.        Yoshida Is Not Binding on This Court, Is Not
                            Persuasive on Its Own Terms, and Does Not
                            Resolve the Question Whether IEEPA Provides for
                            Tariffs ............................................................................ 41
                  B.        Considerations of Uniformity and Expertise Do Not
                            Support Exclusive Jurisdiction Over This Action in
                            The Court of International Trade .................................. 45
Conclusion ................................................................................................... 47
Statutory Addendum .................................................................................... 48




                                                        ii
                     Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 4 of 67




                                  TABLE OF AUTHORITIES

                                                                                                         Page

CASES

Abramski v. United States
  573 U.S. 169 (2014) .................................................................................... 35
Ala. Ass’n of Realtors v. Dep’t of Health & Hum. Servs.
   594 U.S. 758 (2021) .................................................................................... 40
Barnes v. United States
  No. 1:25-cv-00043, 2025 WL 1483384 (Ct. Int’l Trade
  May 23, 2025) ............................................................................................. 18

Biden v. Nebraska
   600 U.S. 477 (2023) .................................................................................... 32

Bolivarian Republic of Venez. v. Helmerich & Payne Int’l
   Drilling Co.
   581 U.S. 170 (2017) .................................................................................... 15

Bostock v. Clayton Cnty.
  590 U.S. 644 (2020) .................................................................................... 24

BP P.L.C. v. Mayor & City Council of Balt.
  141 S. Ct. 1532 (2021) ................................................................................ 44
Brown v. Gardner
   513 U.S. 115 (1994) .............................................................................. 31, 33

Conchise Consultancy, Inc. v. United States ex rel. Hunt
  587 U.S. 262 (2019) .................................................................................... 31

Consumers Union of U.S., Inc. v. Kissinger
  506 F.2d 136 (D.C. Cir. 1974) .................................................................... 23
Cornet Stores v. Morton
  632 F.2d 96 (9th Cir. 1980) ........................................................................ 42



                                                      iii
                     Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 5 of 67




                                  TABLE OF AUTHORITIES
                                        (continued)
                                                                                                       Page

DaVinci Aircraft, Inc. v. United States
  926 F.3d 1117 (9th Cir. 2019) .................................................................... 15
Diginet, Inc. v. Western Union ATS, Inc.
   958 F.2d 1388 (7th Cir. 1992) .................................................................... 27
Dreyfus v. Von Finck
  534 F.2d 24 (2d Cir. 1976) ......................................................................... 22

Dutta v. State Farm Mutual Auto. Ins. Co.
  895 F.3d 1166 (9th Cir. 2018) ...................................................................... 3
Earth Island Institute v. Brown
  28 F.3d 76 (9th Cir. 1994) .................................................................... 17, 18

Emily Ley Paper, Inc. v. Trump
  No. 3:25-cv-464, 2025 WL 1482771 (N.D. Fla.
  May 20, 2025) ............................................................................................. 18

Fed. Commc’ns Comm’n v. Consumers’ Research, No. 24-354,
  606 U.S. __, 2025 WL 1773630 (U.S. June 27, 2025) .............................. 40

Gibbons v. Ogden
   22 U.S. (9 Wheat.) 1 (1824)........................................................................ 27

Gonzalez v. United States
  553 U.S. 242 (2008) .................................................................................... 40

Gustafson v. Alloyd Co., Inc.
  513 U.S. 561 (1995) .................................................................................... 32
Hernandez v. Campbell
  204 F.3d 861 (9th Cir. 2000) ...................................................................... 45

In re Border Infrastructure Env’t Litig.
    915 F.3d 1213 (9th Cir. 2019) .................................................................... 18



                                                      iv
                     Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 6 of 67




                                 TABLE OF AUTHORITIES
                                       (continued)
                                                                                                     Page

Int’l Lab. Rights Fund v. Bush
    357 F. Supp. 2d 204 (D.D.C. 2004) .......................................... 16, 17, 18, 19
Jama v. Immigr. & Customs Enf’t
  543 U.S. 335 (2005) .................................................................................... 23
Jefferson Cnty. v. Acker
   527 U.S. 423 (1999) .................................................................................... 27

Jennings v. Rodriguez
   583 U.S. 281 (2018) .................................................................................... 32
K Mart Corp. v. Cartier, Inc.
  485 U.S. 176 (1988) .............................................................................. 20, 45

Lake v. Ohana Mill Cmtys., LLC
   14 F.4th 993 (9th Cir. 2021) ....................................................................... 15

Learning Res., Inc. v. Trump
   __ F. Supp. 3d __, No. 1:25-cv-1248, 2025 WL 1525376
   (D.D.C. May 29, 2025) .........16, 18-21, 23, 24, 26, 30, 32-35, 38, 40-44, 46

Loper Bright Enters. v. Raimondo
  603 U.S. 369 (2024) .................................................................................... 39

Marmen Inc. v. United States
  134 F.4th 1334 (Fed. Cir. 2005) ................................................................. 46

Nat’l Fed’n of Indep. Bus. v. Dep’t of Lab.
  595 U.S. 109 (2022) .................................................................................... 39
Nat’l Fed’n of Indep. Bus. v. Sebelius
  567 U.S. 519 (2012) .................................................................................... 26

Nebraska v. Su
  121 F.4th 1 (9th Cir. 2024) ......................................................................... 39



                                                      v
                    Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 7 of 67




                                 TABLE OF AUTHORITIES
                                       (continued)
                                                                                                    Page

Ohno v. Yasuma
  723 F.3d 984 (9th Cir. 2013) ...................................................................... 42
Orozco-Lopez v. Garland
  11 F.4th 764 (9th Cir. 2021) ....................................................................... 43
Regan v. Wald
  468 U.S. 222 (1984) .................................................................................... 37

TikTok v. Trump
   507 F. Supp. 3d 92 (D.D.C. 2020) .............................................................. 33
United States v. Patel
  762 F.2d 784 (9th Cir. 1985) ................................................................ 26, 27

United States v. U.S. Shoe Corp
  523 U.S. 360 (1998) .................................................................................... 32

United States v. Williams
  553 U.S. 285 (2008) ........................................................................ 29, 30, 33
United States v. Yoshida International, Inc.
  526 F.2d 560 (C.C.P.A. 1975) ............................................ 14, 38, 41, 42, 43
V.O.S. Selections, Inc. v. United States
   __ F. Supp. 3d __, No. 1:25-cv-00066, 2025 WL 1514124 (Ct.
   Int’l Trade May 28, 2025)........................................................................... 18

V.O.S. Selections, Inc. v. United States
   No. 1:25-cv-00066, Dkt. 63 (Ct. Int’l Trade June 3, 2025) ........................ 44

Webber v. U.S. Dep’t of Homeland Sec.
  __ F. Supp. 3d __, No. 4:25-cv-26, 2025 WL 1207587 (D.
  Mont. April 25, 2025) ................................................................................. 18
West Virginia v. Env’t Prot. Agency
  597 U.S. 697 (2022) ........................................................................ 29, 39, 40


                                                     vi
                      Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 8 of 67




                                   TABLE OF AUTHORITIES
                                         (continued)
                                                                                                           Page

Whitman v. Am. Trucking Assns., Inc.
  531 U.S. 457 (2001) .............................................................................. 32, 40
Ye v. INS
   214 F.3d 1128 (9th Cir. 2000) .................................................................... 15
Yoshida Int’l, Inc. v. United States
   378 F. Supp. 1155 (Cust. Ct. 1974) ...................................................... 38, 42

Youngstown Sheet & Tube Co. v. Sawyer
  343 U.S. 579 (1952) ...................................................................... 1, 4, 22, 23
Ysleta del Sur Pueblo v. Texas
   596 U.S. 685 (2022) .............................................................................. 25, 31

Zukerman v. U.S. Postal Serv.
   961 F.3d 431 (D.C. Cir. 2020) .................................................................... 45

STATUTES

2 U.S.C. § 622(8)(B)(i) .................................................................................... 27
12 U.S.C. § 5491(a) ......................................................................................... 28
15 U.S.C. § 78k(a)(2) ....................................................................................... 28

16 U.S.C.
   § 460bbb-9(a) .............................................................................................. 27
   § 1540(f)...................................................................................................... 28




                                                        vii
                      Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 9 of 67




                                   TABLE OF AUTHORITIES
                                         (continued)
                                                                                                            Page

19 U.S.C.
   § 1338...................................................................................................... 4, 28
   § 1671.......................................................................................................... 28
   § 1862................................................................................................ 4, 28, 29
   § 2132(a) ............................................................................... 4, 28, 29, 34, 43
   § 2253................................................................................................ 4, 28, 29
   § 2411-2419 ............................................................................................ 4, 28
   § 2411(c) ......................................................................................... 29, 34, 43
   § 2483.......................................................................................................... 21
   § 3004(c) ............................................................................................... 12, 21
21 U.S.C. § 360bbb-2(a) .................................................................................. 28
28 U.S.C.
   § 1331...................................................................................................... 3, 11
   § 1581............................................................................................. 2-3, 11-22
   § 1631.................................................................................................... 11, 42
49 U.S.C. § 40117(j) ........................................................................................ 27
50 U.S.C.
   § 1582.......................................................................................................... 42
   § 1701...................................................................................... 5, 6, 24, 37, 52
   § 1702.......................................................................................................... 46
   § 1702(a)(1) .......................................................... 5, 6, 14, 23, 24, 30-33, 37
   § 1702(a)(2) ................................................................................................ 34
   § 4305(b)(1) ................................................................................................ 37
Emergency Banking Relief Act, Pub. L. No. 73-1, 48 Stat. 1
  (1933) ...................................................................................................... 6, 36

First War Powers Act, Pub. L. No. 77-354, 55 Stat. 838 (1941) ................. 6, 36

National Emergencies Act, Pub. L. No. 94-412, 90 Stat. 1255
  (1976) .......................................................................................................... 37
Trade Act of 1974, Pub. L. No. 63-618, 88 Stat. 1978 (1975) ....................... 43

                                                        viii
                     Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 10 of 67




                                   TABLE OF AUTHORITIES
                                         (continued)
                                                                                                          Page

Trading with the Enemy Act
   Pub. L. No. 65-91, 40 Stat. 411 (1917)............................................. 6, 35, 36
   Pub. L. No. 95-223, 91 Stat. 1625 (1977) ................................................. 37

CONSTITUTIONAL PROVISIONS

U.S. Const. art. I, § 8, cl. 1 ................................................................. 1, 3, 23, 39
U.S. Const. art. I, § 9, cl. 5 ............................................................................... 32

OTHER AUTHORITIES
Christopher A. Casey & Jennifer K. Elsea, Cong. Rsch. Serv.,
  R45618, The International Emergency Economic Powers Act:
  Origins, Evolution, and Use (Jan. 30, 2024) .......................................... 7, 38
Christopher A. Casey & Cathleen D. Cimino-Isaacs, Cong. Rsch.
  Serv., IF 10038, Trade Promotion Authority (Feb. 20, 2024) ...................... 4
Christopher A. Casey, Cong. Rsch. Serv., IF 11030, U.S. Tariff
  Policy: Overview (Jan. 31, 2025) ............................................................... 25
Exec. Order No. 13,219, Blocking Property of Persons Who
  Threaten International Stabilization Efforts in the Western
  Balkans, 66 Fed. Reg. 34777 (June 26, 2001) .............................................. 7
Exec. Order No. 13,581, Blocking Property of Transnational
  Criminal Organizations, 76 Fed. Reg. 44757 (July 24, 2011) ..................... 7

Exec. Order No. 14,193, Imposing Duties to Address the Flow of
  Illicit Drugs Across our Northern Border, 90 Fed. Reg. 9113
  (Feb. 1, 2025) ...................................................................................... 8, 9, 21

Exec. Order No. 14,194, Imposing Duties to Address the
  Situation at Our Southern Border, 90 Fed. Reg. 9117 (Feb. 1,
  2025) ................................................................................................... 8, 9, 21



                                                        ix
                   Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 11 of 67




                                TABLE OF AUTHORITIES
                                      (continued)
                                                                                                  Page

Exec. Order No. 14,195, Imposing Duties to Address the
  Synthetic Opioid Supply Chain in the People’s Republic of
  China, 90 Fed. Reg. 9121 (Feb. 1, 2025) ........................................... 8, 9, 21

Exec. Order No. 14,231, Amendment to Duties to Address the
  Flow of Illicit Drugs Across Our Northern Border, 90 Fed.
  Reg. 11785 (Mar. 6, 2025)............................................................................ 9

Exec. Order No. 14,257, Regulating Imports With a Reciprocal
  Tariff to Rectify Trade Practices That Contribute to Large
  and Persistent Annual United States Goods Trade Deficits, 90
  Fed. Reg. 15041 (Apr. 2, 2025) .......................................................... 8, 9, 21
Exec. Order No. 14,266, Modifying Reciprocal Tariff Rates to
  Reflect Trading Partner Retaliation and Alignment, 90 Fed.
  Reg. 15625 (Apr. 9, 2025) ........................................................................ 8, 9

H.R. 6394, 96th Cong. § 201(a) (2d Sess. 1980) ............................................. 20

H.R. Rep. No. 65-85 (1917) ............................................................................. 35
H.R. Rep. No. 95-459 (1977)..................................................................... 37, 38
Proclamation No. 3564, 28 Fed. Reg. 13247 (Dec. 6, 1963) ............................ 5

Proclamation No. 4074, 36 Fed. Reg. 15724 (Aug. 17, 1971) .............. 5, 39, 41
Proclamation No. 4098, 36 Fed. Reg. 24201 (Dec. 22, 1971) .................. 39, 41

Proclamation No. 5631, 52 Fed. Reg. 13412 (Apr. 17, 1987) ........................... 5
Regulate, AMERICAN HERITAGE DICTIONARY (1976) ...................................... 25

Regulate, BLACK’S LAW DICTIONARY (5th ed. 1979) ...................................... 25

Regulate, THE CONCISE OXFORD DICTIONARY OF CURRENT
  ENGLISH (6th ed. 1976) ............................................................................... 25



                                                    x
                     Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 12 of 67




                                  TABLE OF AUTHORITIES
                                        (continued)
                                                                                                         Page

Regulate, NEW WEBSTER’S DICTIONARY OF THE ENGLISH
  LANGUAGE (1975) ....................................................................................... 25

Regulate, RANDOM HOUSE COLLEGE DICTIONARY (rev. ed. 1975) ................. 25

S. Rep. No. 94-922 (1976) ............................................................................... 37
S. Rep. No. 95-466 (1977) ............................................................................... 38

Tariff, THE CONCISE OXFORD DICTIONARY OF CURRENT ENGLISH
   (6th ed. 1976) .............................................................................................. 25
Tax, THE CONCISE OXFORD DICTIONARY OF CURRENT ENGLISH
   (6th ed. 1976) .............................................................................................. 26
U.S. Customs & Border Protection, Entry Summary and Post
   Release Processes (last modified Apr. 10, 2025) ....................................... 33
White House, Fact Sheet: President Donald J. Trump Restores
  Section 232 Tariffs (Feb. 11, 2025) .............................................................. 8

White House, Joint Statement on U.S.-China Economic and
  Trade Meeting in Geneva (May 12, 2025) ................................................... 9




                                                        xi
              Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 13 of 67




                                INTRODUCTION

     Under the Constitution, it is Congress that “shall have Power To Lay and

collect Taxes, Duties, Imposts and Excises.” U.S. Const. art. I, § 8, cl. 1. The

President has no independent authority to impose or alter tariffs; any such authority

must be delegated by Congress. See Youngstown Sheet & Tube Co. v. Sawyer, 343

U.S. 579, 585 (1952). Consistent with those principles, Congress has expressly

granted the President limited authority to impose tariffs under narrowly

circumscribed circumstances through a series of Tariff and Trade Acts. Until

recently, Presidents seeking to impose tariffs have always done so pursuant to

those clear delegations of authority.

     But beginning in February 2025, President Trump issued a series of executive

orders imposing sweeping tariffs ranging from 10% to 145% on nearly every

trading partner of the United States. Those tariffs threaten to devastate the

economy, depriving California alone of $25 billion and more than 64,000 jobs. As

substantive authority for his tariffs, President Trump did not invoke any of the

statutes delegating the President tariff authority. Instead, the President invoked the

International Emergency Economic Powers Act (IEEPA), a statute enacted in 1977

to allow the President to take specified actions in response to a declared national

emergency resulting from an unusual and extraordinary foreign threat. Imposing

tariffs is not one of those specified actions—IEEPA makes no mention of “tariffs,”



                                          1
               Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 14 of 67




“duties,” or any similar term. And in the nearly five decades and eight presidential

administrations since its enactment, no President has ever before invoked IEEPA

to impose tariffs.

     The State of California and Governor Gavin Newsom filed this suit in federal

district court, alleging that President Trump’s tariff orders are not authorized by

IEEPA and are thus ultra vires and violate the constitutional separation of powers.

District courts regularly exercise jurisdiction over lawsuits that allege that the

President exceeded his authority by acting without statutory authorization. They

also regularly exercise jurisdiction over IEEPA cases. Like those cases, this action

belongs in district court.

     The district court disagreed, holding that the U.S. Court of International Trade

has exclusive jurisdiction over this action pursuant to 28 U.S.C. § 1581(i)(1)(B).

That provision is inapplicable. Section 1581(i)(1)(B) confers exclusive jurisdiction

on the Court of International Trade only when a civil action against the United

States, its agencies, or its officers “arises out of any law of the United States

providing for . . . tariffs.” This action “arises out of” IEEPA, and IEEPA does not

provide for tariffs. The Court should reverse the judgment below and remand for

further proceedings.




                                           2
               Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 15 of 67




                        JURISDICTIONAL STATEMENT

     The district court’s jurisdiction is at issue in this appeal. Plaintiffs’ position is

that the district court had jurisdiction under 28 U.S.C. § 1331. The district court

disagreed, after exercising “jurisdiction to determine its own jurisdiction.” Dutta

v. State Farm Mutual Auto. Ins. Co., 895 F.3d 1166, 1171 n.3 (9th Cir. 2018). The

district court therefore entered judgment dismissing this action without prejudice

for lack of jurisdiction on June 2, 2025. ER-4. Plaintiffs appealed the same day.

ER-52–53. This Court has jurisdiction under 28 U.S.C. § 1291.

                          STATEMENT OF THE ISSUES

     Whether the district court has jurisdiction over this civil action under 28

U.S.C. § 1331 or whether jurisdiction lies in the U.S. Court of International Trade

under 28 U.S.C. § 1581(i)(1)(B) as an action that “arises out of any law of the

United States providing for . . . tariffs.”

                 ADDENDUM OF STATUTORY PROVISIONS
     An addendum of pertinent statutory provisions is attached at the end of this

brief. See Ninth Cir. R. 28-2.7.

                           STATEMENT OF THE CASE
     A.    Legal Background

     The Constitution assigns the power to impose tariffs exclusively to Congress.

U.S. Const. art. I, § 8, cl. 1 (“The Congress shall have Power To lay and collect

Taxes, Duties, Imports and Excises . . .”). The President has no independent


                                              3
               Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 16 of 67




authority to impose or alter tariffs. See Youngstown, 343 U.S. at 585. Congress

has delegated certain tariff authority to the President in a series of statutory

enactments codified under Title 19 of the U.S. Code, which is denominated

“Customs Duties.” See 19 U.S.C. §§ 1338, 1862, 2132(a), 2253, 2411-2419.1

Those statutes expressly delegate the power to impose tariffs, and then carefully

circumscribe the President’s exercise of that power. For instance, Section 338 of

the Tariff Act of 1930 explicitly grants the President the authority to “declare new

or additional duties” on imports from countries that have discriminated against

U.S. products or commerce, but only after a 30-day waiting period and only up to

50 percent ad valorem. 19 U.S.C. § 1338(a), (d), (e). Similarly, Section 122 of the

Trade Act of 1974 explicitly authorizes the President to impose “duties” on

imports in order “to deal with large and serious United States balance-of-payments

deficits,” but only for “a period not exceeding 150 days” and only up to “15

percent ad valorem.” Id. § 2132(a). For decades, Presidents have invoked the




      1
       The President may also negotiate trade agreements addressing tariff rates
on behalf of the United States under a Trade Promotion Authority, but any such
agreement only becomes law through implementing legislation. See Christopher
A. Casey & Cathleen D. Cimino-Isaacs, Cong. Rsch. Serv., IF 10038, Trade
Promotion Authority 1 (Feb. 20, 2024), https://www.congress.gov/crs-
product/IF10038.

                                           4
                    Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 17 of 67




tariff statutes in Title 19 and complied with their requirements when imposing

tariffs.2

      Unlike those laws, the International Emergency Economic Powers Act is part

of Title 50, denominated “War and National Defense,” and contains no mention of

tariffs, duties, or taxes. Rather, IEEPA provides that when the President declares a

national emergency pursuant to the National Emergencies Act with respect to an

“unusual and extraordinary threat” to “the national security, foreign policy, or

economy of the United States” from a source outside the United States, the

President may use certain powers to “deal with” that threat. 50 U.S.C. § 1701(a).

Specifically, IEEPA provides that, in those circumstances, the President may:

      under such regulations as he may prescribe, by means of instructions,
      licenses, or otherwise—

      (A) investigate, regulate, or prohibit—

             (i)    any transactions in foreign exchange

            (ii)    transfers of credit or payments between, by, through, or to any
                    banking institution, to the extent that such transfers or payments
                    involve any interest of any foreign country or a national thereof,

            (iii)   the importing or exporting of currency or securities,


       2
        See, e.g., Proclamation No. 5631, 52 Fed. Reg. 13412 (Apr. 17, 1987)
(President Reagan invoking Trade Act of 1974 to impose tariffs); Proclamation
No. 4074, 36 Fed. Reg. 15724 (Aug. 17, 1971) (President Nixon invoking Trade
Expansion Act of 1962 and Tariff Act of 1930 to impose tariffs); Proclamation No.
3564, 28 Fed. Reg. 13247 (Dec. 6, 1963) (President Johnson invoking Trade
Expansion Act of 1962 and Tariff Act of 1930 to impose tariffs).

                                               5
              Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 18 of 67




       by any person, or with respect to any property, subject to the jurisdiction of
       the United States;

     (B) investigate, block during the pendency of an investigation, regulate,
         direct and compel, nullify, void, prevent or prohibit,

          any acquisition, holding, withholding, use, transfer, withdrawal,
          transportation, importation or exportation of, or dealing in, or exercising
          any right, power, or privilege with respect to, or transactions involving,

          any property in which any foreign country or a national thereof has any
          interest

          by any person, or with respect to any property, subject to the jurisdiction
          of the United States[.]

50 U.S.C. § 1702(a)(1) (line breaks added for readability). In granting the

President these specific powers for emergency circumstances, Congress was

careful to provide that IEEPA powers “may not be exercised for any other

purpose.” Id. § 1701(b).

     The powers delegated to the President under Section 1702(a)(1)(B) of IEEPA

are largely drawn from Section 5(b) of the Trading with the Enemy Act of 1917

(TWEA), which was enacted shortly after the United States entered World War I,

and then amended during the Great Depression and World War II. See Pub. L. No.

65-91, § 5(b), 40 Stat. 411 (1917); Emergency Banking Relief Act., Pub. L. No.

73-1, § 2, 48 Stat. 1 (1933); First War Powers Act, Pub. L. No. 77-354, § 301, 55

Stat. 838 (1941). Like IEEPA, neither Section 5(b)’s text nor the legislative




                                         6
                Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 19 of 67




history accompanying its enactment and amendment reference tariffs, duties, or

taxes.

     Until now, no President has ever invoked TWEA or IEEPA to impose tariffs. 3

When Presidents have historically exercised their authority under Section 5(b) of

TWEA and Section 1702(a)(1)(B) of IEEPA, they have instead imposed economic

sanctions on foreign countries and persons, including by prohibiting economic

relations, blocking access to assets, forbidding utilization of U.S. financial systems,

and denying visas. See Christopher A. Casey & Jennifer K. Elsea, Cong. Rsch.

Serv., R45618, The International Emergency Economic Powers Act: Origins,

Evolution, and Use 6, 15 (Jan. 30, 2024), https://www.congress.gov/crs-product/

R45618.4

     B.      Factual Background

     On February 1, 2025, President Trump issued three executive orders imposing

a 25% tariff on imports from Canada and Mexico, and a 10% tariff on imports




        As discussed below, the U.S. Department of Justice invoked Section 5(b)
         3

of TWEA as a post hoc, alternative basis to justify certain tariffs President Nixon
imposed in response to a lawsuit challenging their validity. But President Nixon
himself did not cite TWEA as a basis for his authority in the Proclamations
imposing or rescinding the tariffs. See infra pp. 41-42.
         See, e.g., Exec. Order No. 13,581, Blocking Property of Transnational
         4

Criminal Organizations, 76 Fed. Reg. 44757 (July 24, 2011); Exec. Order No.
13,219, Blocking Property of Persons Who Threaten International Stabilization
Efforts in the Western Balkans, 66 Fed. Reg. 34777 (June 26, 2001).

                                           7
               Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 20 of 67




from China. ER-6. 5 Two months later, President Trump issued an executive order

imposing a “universal tariff” of 10% on nearly “all imports from” virtually “all

trading partners.” ER-8. The order also imposed “reciprocal tariffs” on 57 trading

partners, with rates ranging from 11% to 50%, including 34% for China. ER-8.6

     President Trump has repeatedly paused, reimposed, modified, and escalated

these tariffs, at one point subjecting most goods from China to a total tariff rate of

145%. ER-7–9; see, e.g., Exec. Order No. 14,266, Modifying Reciprocal Tariff

Rates to Reflect Trading Partner Retaliation and Alignment, 90 Fed. Reg. 15625

(Apr. 9, 2025). As of the date of this filing, pursuant to the challenged tariff



      5
        See Exec. Order No. 14,193, Imposing Duties to Address the Situation at
Our Southern Border, 90 Fed. Reg. 9113 (Feb. 1, 2025); Exec. Order No. 14,194,
Imposing Duties to Address the Flow of Illicit Drugs Across our Northern Border,
90 Fed. Reg. 9117 (Feb. 1, 2025); Exec. Order No. 14,195, Imposing Duties to
Address the Synthetic Opioid Supply Chain in the People’s Republic of China, 90
Fed. Reg. 9121 (Feb. 1, 2025).
      6
        See Exec. Order No. 14,257, Regulating Imports With a Reciprocal Tariff
to Rectify Trade Practices That Contribute to Large and Persistent Annual United
States Goods Trade Deficits, 90 Fed. Reg. 15041 (Apr. 2, 2025). Despite their
name, the formula used to determine the “reciprocal tariff” rates “has nothing to do
with mirroring tariffs applied by foreign governments on U.S. exports, nor
matching any other type of foreign trade barrier.” ER-27.
       President Trump has also imposed industry-specific tariffs on steel,
aluminum, automobiles, and automobile parts. ER-27; White House, Fact Sheet:
President Donald J. Trump Restores Section 232 Tariffs (Feb. 11, 2025),
https://www.whitehouse.gov/fact-sheets/2025/02/fact-sheet-president-donald-j-
trump-restores-section-232-tariffs/. He has invoked one of the tariff statutes,
Section 232 of the Trade Expansion Act of 1962, not IEEPA, as the source of his
authority to impose those tariffs. They are not challenged in this lawsuit.

                                           8
              Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 21 of 67




orders, a majority of goods from Canada and Mexico are subject to a 25% tariff

rate; goods from China are subject to a 30% tariff rate, which will rise to 54% on

August 12; and goods from nearly all other U.S. trading partners are subject to a

10% tariff rate, which will rise to rates ranging from 11% to 50% on July 9.7

     These tariffs are poised to inflict significant and enduring economic harm.

ER-39–40. Functionally, they “will be the largest tax increase in more [than] a

generation for U.S. consumers,” and they “risk pushing the larger macroeconomy

into a recession, generating lasting harmful effects on employment, economic

growth, and government budgets.” ER-34–35, ER-38–40. Analysts project that

these tariffs will lower after-tax incomes in 2025 by an average of 0.9 percent;

reduce U.S. economic output by 0.6 percent—the “equivalent to more than $178

billion annual output lost in 2024 dollars”; and “reduce the labor supply by

546,000 full-time equivalent jobs.” ER-28–29. California alone stands to lose $25

billion and more than 64,000 jobs. ER-31.



     7
       See 90 Fed. Reg. at 9114, 9118, 9122, 15045; Exec. Order No. 14,231,
Amendment to Duties to Address the Flow of Illicit Drugs Across Our Northern
Border, 90 Fed. Reg. 11785 (Mar. 6, 2025); Exec. Order No. 14,232, Amendment
to Duties to Address the Flow of Illicit Drugs Across Our Southern Border, 90 Fed.
Reg. 11787 (Mar. 6, 2025); Exec. Order 14,266, Modifying Reciprocal Tariff Rates
to Reflect Trading Partner Retaliation and Alignment, 90 Fed. Reg. 15625 (Apr. 9,
2025); White House, Joint Statement on U.S.-China Economic and Trade Meeting
in Geneva (May 12, 2025), https://www.whitehouse.gov/briefings-
statements/2025/05/joint-statement-on-u-s-china-economic-and-trade-meeting-in-
geneva/.

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               Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 22 of 67




     Each of the executive orders imposing these tariffs invoked IEEPA as the

source of the President’s authority to impose tariffs. ER-7–8. In the three orders

imposing tariffs on Canada, Mexico, and China, President Trump “invoke[d] [his]

authority under Section 1702(a)(1)(B) of IEEPA,” and “specifically” noted “that

action under other authority to impose tariffs is inadequate.” ER-7. And in the

order imposing the universal and reciprocal tariffs, the President invoked the

“authority vested in [him] by the Constitution and the laws of the United States of

America, including the International Emergency Economic Powers Act.” ER-8.

     C.   Procedural History

     In response to President Trump’s executive orders claiming authority under

IEEPA to impose tariffs, plaintiffs the State of California and Governor Gavin

Newsom (collectively, California) filed suit in the U.S. District Court for the

Northern District of California.8 California argued that IEEPA does not authorize


      8
         Several other plaintiffs have filed lawsuits challenging the tariffs in federal
district court and the Court of International Trade. See Emily Ley Paper, Inc. v.
Trump, No. 3:25-cv-464 (N.D. Fla.), transferred to No. 1:25-cv-00096 (Ct. Int’l
Trade) (stayed); Webber v. U.S. Dep’t of Homeland Sec., No. 4:25-cv-26 (D.
Mont.), appeal docketed, No. 25-2717 (9th Cir. Apr. 28, 2025); Learning Res., Inc.
v. Trump, No. 1:25-cv-1248 (D.D.C.) (denying motion to transfer and granting
preliminary injunction), appeal docketed, No. 25-5202 (D.C. Cir. May 30, 2025),
pet. for cert. before judgment pending, No. 24-1287 (U.S. June 17, 2025); Barnes
v. United States, No. 1:25-cv-00043 (Ct. Int’l Trade) (dismissed for lack of
standing); V.O.S. Selections, Inc. v. Trump, No. 1:25-cv-00066 (Ct. Int’l Trade),
appeal docketed, No. 25-1812 (Fed. Cir. May 28, 2025); Oregon v. Trump, No.
1:25-cv-00077 (Ct. Int’l Trade), appeal docketed, No. 25-1813 (Fed. Cir. May 28,
                                                                         (continued…)

                                          10
               Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 23 of 67




the President to impose tariffs, such that the challenged executive orders are ultra

vires in excess of statutory authority and violate the constitutional separation of

powers. ER-49–51. California invoked the district court’s jurisdiction under 28

U.S.C. § 1331 because the case presents a federal question. ER-47–48. The State

later filed a motion for a preliminary injunction to enjoin the agency defendants

from taking any action to implement or enforce the challenged tariff orders. ER-64

(D. Ct. Dkt. 15).

     Defendants moved to transfer the case to the Court of International Trade

pursuant to 28 U.S.C. § 1631, which provides for transfer of a civil action to cure a

want of jurisdiction “in the interest of justice.” ER-65 (D. Ct. Dkt. 9). Defendants

argued that the Court of International Trade has exclusive jurisdiction over this

action under 28 U.S.C. § 1581(i)(1), which provides, in relevant part that:

     [T]he Court of International Trade shall have exclusive jurisdiction of
     any civil action commenced against the United States, its agencies, or its
     officers, that arises out of any law of the United States providing for . . .
     tariffs, duties, fees, or other taxes on the importation of merchandise for
     reasons other than the raising of revenue.

28 U.S.C. § 1581(i)(1)(B). California opposed, arguing that this suit “arises out

of” IEEPA, and that IEEPA is not a “law . . . providing for . . . tariffs” within the

meaning of Section 1581. ER-65 (D. Ct. Dkt. 12).



2025); Princess Awesome, LLC v. U.S. Customs & Border Prot., No. 1:25-cv-
00078 (Ct. Int’l Trade) (stayed).

                                          11
               Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 24 of 67




     The district court issued an order holding that the Court of International Trade

has exclusive jurisdiction over this action. ER-10–14. The district court reasoned

that “this action arises out of President Trump’s executive orders imposing tariffs,”

and “[t]hose executive orders are laws of the United States” because they modify

the Harmonized Tariff Schedule, per 19 U.S.C. § 3004(c). ER-10–12. At

California’s request, the district court held that transfer to the Court of

International Trade was not “in the interest of justice” and dismissed the case to

allow California to appeal the jurisdictional question to this Court. ER-14–17.

California filed a notice of appeal from the district court’s dismissal judgment the

same day. ER-52–53.

     Because the district court’s dismissal effectively denied California’s pending

motion for a preliminary injunction, California asked this Court to expedite the

appeal as it would a preliminary injunction appeal. Dkt. 14. This Court granted

the request for expedited treatment of the appeal. Dkt. 23.

                           SUMMARY OF ARGUMENT

     The district court, not the Court of International Trade, has jurisdiction over

this action. As relevant, the Court of International Trade has “exclusive

jurisdiction” only over civil actions against the United States, its agencies, or

officers that “arise[ ] out of any law of the United States providing for . . . tariffs.”

28 U.S.C. § 1581(i)(1)(B). That jurisdictional requirement is not satisfied here:



                                            12
               Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 25 of 67




this ultra vires and separation-of-powers action “arises out of” IEEPA, and IEEPA

is not a law of the United States “providing for” tariffs.

     1. The phrase “arises out of” as used in Section 1581(i)(1) refers to the

substantive law giving rise to the claims alleged. This action arises out of IEEPA,

not, as the district court wrongly held, President Trump’s executive orders

imposing tariffs. IEEPA is the substantive law under which the President acted to

impose the challenged tariff orders; California’s action stems from the President’s

reliance on IEEPA to impose tariffs; the sole merits question in the case is whether

IEEPA provides the President with authority to impose tariffs; and resolving

California’s claims turns on the meaning of IEEPA, not the meaning of the

President’s executive orders. The executive orders, including their resulting

modifications to the Harmonized Tariff Schedule of the United States, also cannot

be the basis for jurisdiction under Section 1581(i)(1) because they are not “law[s]

of the United States.” Executive orders that lack statutory authority are not laws of

the United States; likewise for modifications to the Harmonized Tariff Schedule.

Because IEEPA does not authorize the President to impose tariffs, the challenged

executive orders and their modifications to the Harmonized Tariff Schedule do not

constitute laws of the United States for purposes of Section 1581(i)(1).

     2. As the U.S. District Court for the District of Columbia held in a similar

case, IEEPA is not a “law of the United States providing for . . . tariffs.” 28 U.S.C.


                                          13
               Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 26 of 67




§ 1581(i)(1)(B). That conclusion follows from the plain text of IEEPA, which

makes no mention of “tariffs,” “duties,” or any similar term. Section

1702(a)(1)(B) of IEEPA grants the President a set of enumerated powers to “deal

with” certain national emergencies, including the power to “regulate . . .

importation,” but that phrase is properly understood to allow the President to set

rules controlling the frequency, location, quantity, and quality of imports. It does

not encompass the power to impose tariffs. The power to regulate and the power

to tariff or tax are distinct, as reflected in contemporaneous dictionary definitions,

court decisions, statutes, and administrative practice. Statutory context, including

the comprehensive statutory scheme in Title 19 expressly authorizing tariffs and

carefully circumscribing the tariff authority delegated to the President, as well as

legislative history, historical practice, and constitutional principles each also

confirms that IEEPA is not a law “providing for” tariffs.

     3. Other arguments to the contrary that defendants advanced below lack

merit. The Court of Customs and Patent Appeals’ decision in United States v.

Yoshida International, Inc., 526 F.2d 560 (C.C.P.A. 1975), is not binding on this

Court, is not persuasive on its own terms, and does not resolve the question of

whether IEEPA provides for tariffs. And considerations of uniformity and

expertise counsel in favor of jurisdiction in the district court, which is equipped to

address (and routinely considers) the type of ultra vires and separation of powers


                                          14
               Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 27 of 67




claims asserted here. In contrast, the Court of International Trade does not have

any expertise with respect to IEEPA cases or the sort of abuse of authority claims

presented in this case; it has expertise in trade law, which is not implicated in this

action. The judgment below should be reversed.

                            STANDARD OF REVIEW
     The Court reviews de novo “questions of statutory construction” and

dismissals for lack of subject-matter jurisdiction. Lake v. Ohana Mill Cmtys., LLC,

14 F.4th 993, 1000 (9th Cir. 2021); see also, e.g., DaVinci Aircraft, Inc. v. United

States, 926 F.3d 1117, 1122 (9th Cir. 2019). Where jurisdictional questions and

the merits are “intertwined,” the Court can “decide some, or all, of the merits

issues” to “answer the jurisdictional question.” Bolivarian Republic of Venez. v.

Helmerich & Payne Int’l Drilling Co., 581 U.S. 170, 178 (2017); see also, e.g., Ye

v. INS, 214 F.3d 1128, 1131 (9th Cir. 2000).

                                    ARGUMENT
I.   THIS ACTION “ARISES OUT OF ” IEEPA, A “LAW OF THE UNITED
     STATES”
     A.   “Arises Out of” Refers to the Substantive Law Giving Rise to
          the Claims Alleged—Here, IEEPA
     Under 28 U.S.C. § 1581(i)(1)(B), the Court of International Trade has

“exclusive jurisdiction” over any civil action against the United States, its

agencies, or officers that “arises out of any law of the United States providing for

. . . tariffs.” The phrase “arises out of” as used in Section 1581(i)(1) refers to the

                                           15
               Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 28 of 67




“substantive law giving rise to [the] claims” alleged in the civil action—that is, the

substantive law pursuant to which the executive branch took the challenged action.

Int’l Lab. Rights Fund v. Bush, 357 F. Supp. 2d 204, 208 (D.D.C. 2004);

Learning Res., Inc. v. Trump, __ F. Supp. 3d __, No. 1:25-cv-1248, 2025 WL

1525376, at *6, *7 n.4 (D.D.C. May 29, 2025), prelim. inj. stayed pending appeal,

No. 25-5202 (D.C. Cir.).

     Cases interpreting the meaning of “arises out of” as used in Section

1581(i)(1), as well as similar language in other jurisdictional statutes, are

instructive. In International Labor Rights Fund, for example, a group of advocacy

organizations brought a claim under the Administrative Procedure Act to compel

agency action unlawfully withheld, alleging that the government had failed “to

commence an investigation and enforcement action” that the plaintiffs believed

was required under Section 307 of the Tariff Act of 1930 and its implementing

regulations. 357 F. Supp. 2d at 206. The district court dismissed for lack of

subject-matter jurisdiction, holding that it was “obvious” that the plaintiffs’ suit

“ar[ose]” out of Section 307, which is a law “‘providing for . . . embargoes,’” and

the Court of International Trade has exclusive jurisdiction over “‘any civil action

. . . arising out of any law of the United States providing for . . . embargoes.’” Id.

at 207-08. Although plaintiffs maintained that their action arose under the APA,

the district court held otherwise because Section 307 was “the substantive law


                                          16
               Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 29 of 67




giving rise to their claims.” Id. at 208. “Indeed,” the court noted, “the ‘statutory

and regulatory framework’ section of the plaintiffs’ Amended Complaint focuse[d]

solely on Section 307 and its implementing regulations,” and “any determination

of the government’s liability under the APA for failure to engage in an

investigation or enforcement action would require an interpretation of the scope

and application of Section 307 and its regulations.” Id. at 208.

     This Court similarly construed “arises out of” as used in Section 1581(i)(1) in

Earth Island Institute v. Brown, 28 F.3d 76, 76-77 (9th Cir. 1994). The Court there

considered whether the Court of International Trade had exclusive jurisdiction over

a suit alleging that the government had failed to implement tuna importation bans

as required by the Marine Mammal Protection Act. Id. at 76-77. In analyzing

whether the plaintiffs’ suit to enforce the import ban “ar[ose] out of a law

‘providing for embargoes,’” the Court recognized that the suit arose out of the

Marine Mammal Protection Act, as that was the substantive law the plaintiffs

argued required the government to act (and pursuant to which the government had

failed to act) and so was the substantive law giving rise to the plaintiffs’ claims.

Id. at 77. The Court then proceeded to ask whether that Act was “a statute

providing for an embargo” and held that it was. Id. at 78-79. Because the

plaintiffs’ suit arose out of the Marine Mammal Protection Act, and because that

Act provided for embargoes, the Court concluded that the plaintiffs’ “suit under the


                                          17
               Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 30 of 67




[Marine Mammal Protection Act]” was “an action arising under a law providing

for embargoes” and so belonged in the Court of International Trade. Id. at 78-79.

See also, e.g., In re Border Infrastructure Env’t Litig., 915 F.3d 1213, 1220 (9th

Cir. 2019) (holding that “arising from”—a phrase “related” to “arising out of”—

means “originates or stems from,” not “related to or concerned with”).

     Applying that understanding of “arises out of” as used in Section 1581(i)(1),

“[t]his is undisputably a civil action against agencies and officers of the United

States that ‘arises out of’ IEEPA.” Learning Res., 2025 WL 1525376, at *6. 9

IEEPA is the “‘substantive law giving rise to [the] claims’” alleged in this civil

action—it is “the substantive law under which the President acted,” and it is

therefore the basis for California’s claims that the President’s actions were in

excess of statutory authority and therefore in violation of the separation of powers.

Id. at *6, *7 n.4 (quoting Int’l Lab. Rights Fund, 357 F. Supp. 2d at 208). Whether


      9
         Several courts considering similar challenges to President Trump’s tariff
orders have also held that a civil action challenging an executive order as
unauthorized by IEEPA “arises out of” IEEPA. See Learning Res., 2025 WL
1525376, at *6; Barnes v. United States, No. 1:25-cv-00043, 2025 WL 1483384, at
*3 (Ct. Int’l Trade May 23, 2025); Emily Ley Paper, Inc. v. Trump, No. 3:25-cv-
464, 2025 WL 1482771, at *4 (N.D. Fla. May 20, 2025), transferred to No. 1:25-
cv-00096 (Ct. Int’l Trade); Webber v. U.S. Dep’t of Homeland Sec., __F. Supp. 3d
__, No. 4:25-cv-26, 2025 WL 1207587, at *5 (D. Mont. April 25, 2025), appeal
docketed, No. 25-2717 (9th Cir. Apr. 28, 2025). But see V.O.S. Selections, Inc. v.
United States, __ F. Supp. 3d __, No. 1:25-cv-00066, 2025 WL 1514124, at *8 (Ct.
Int’l Trade May 28, 2025) (holding that any “action involving a challenge to a
presidential action that imposes tariffs . . . is one that arises from a ‘law providing
for’ those measures”).

                                          18
              Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 31 of 67




IEEPA authorizes the President to impose tariffs is the only question a court needs

to answer to resolve the merits in this case, and IEEPA is the only law a court

needs to interpret to answer that question. See id. at *6; Int’l Lab. Rights Fund,

357 F. Supp. 2d at 208.

     B.   The District Court’s Conclusion That the Lawsuit Does Not
          Arise Out of IEEPA, But Arises Out of the Executive Orders, Is
          Unpersuasive

     The district court concluded that California’s action “arises out of President

Trump’s executive orders imposing tariffs,” not IEEPA, and that the executive

orders are laws of the United States providing for tariffs. ER-10. Each element of

that conclusion lacks merit.

     The district court reasoned that “the lawsuit challenging President Trump’s

imposition of tariffs originates from, grows out of, and flows from the executive

orders through which the President imposed tariffs.” ER-10 (citing In re Border

Infrastructure, 915 F.3d at 1220). But that analysis confuses the executive actions

challenged in the lawsuit with the “substantive law giving rise” to California’s

claims. The origin of California’s claims—i.e., the law this action “arises out

of”—is not the executive orders that are being challenged; the origin is IEEPA,

because IEEPA is the law the President claimed as his source of authority to issue

the challenged orders, and which California alleges does not confer such authority.

See supra pp. 15-19.



                                         19
              Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 32 of 67




     Under the district court’s reasoning, any challenge to an executive order

providing for tariffs would satisfy Section 1581(i)(1)’s “arise out of” requirement,

regardless of the nature of the challenge. But “Congress did not commit to the

Court of International Trade’s exclusive jurisdiction every suit against the

Government challenging customs-related laws and regulations.” K Mart Corp. v.

Cartier, Inc., 485 U.S. 176, 188 (1988); see also Learning Res., 2025 WL

1525376, at *7. Indeed, Congress considered and rejected language that would

have granted the Court of International Trade jurisdiction over a civil action that

merely “involves a provision of . . . an Executive order of the President, which

directly and substantially involves international trade.” H.R. 6394, 96th Cong.

§ 201(a) (2d Sess. 1980); see also K Mart Corp., 485 U.S. at 188 (interpreting

Section 1581(i) in light of Congress’s decision to reject such a broad jurisdictional

grant).

     But even if the district court were correct that this civil action “arises out of”

the challenged executive orders, those orders are not “laws of the United States” as

required by Section 1581(i)(1). The district court reached a contrary conclusion,

observing that the executive orders “modify, or instruct the Department of

Homeland Security to modify, the Harmonized Tariff Schedule [of the United




                                          20
              Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 33 of 67




States].” ER-10. 10 And pursuant to 19 U.S.C. § 3004(c), a “‘modification or

change made to the Harmonized Tariff Schedule by the President under authority

of law (including Section 604 of the Trade Act of 1974) . . . shall be considered to

be statutory provisions of law for all purposes.’” ER-10–11 (quoting 19 U.S.C.

§ 3004(c)(1)(C)). Taken together, the district court concluded that the

modifications to the Harmonized Tariff Schedule in the executive orders operate as

“laws of the United States” under Section 1581. 11

     But the district court’s analysis misses the requirement in Section 3004(c) that

a modification is considered a “statutory provision[] of law” only if a President’s

modifications to the Harmonized Tariff Schedule are made “under authority of

law.” 19 U.S.C. § 3004(c)(1)(C). “Executive Orders issued without statutory

authority providing for presidential implementation are generally held not to be




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         The Harmonized Tariff Schedule sets out the tariff rates for all
merchandise imported into the United States. It was modified to reflect the tariff
rates imposed by the executive orders pursuant to Section 604 of the Trade Act of
1974, 19 U.S.C. § 2483, which directs the President to periodically update the
Harmonized Tariff Schedule to reflect tariffs imposed pursuant to other laws. See
90 Fed. Reg. at 9113, 9115, 9117, 9119, 9121, 9123, 15041, 15047.
      11
          Just as California’s civil action does not “arise[ ] out of” the executive
orders, it does not “arise[ ] out of” the modifications to the Harmonized Tariff
Schedule effectuated by the tariff orders. See Learning Res., 2025 WL 1525376, at
*7 n.4. Those modifications are the incidental, downstream result of any executive
action imposing tariffs, and this action does not challenge the Harmonized Tariff
Schedule itself or the modification process. IEEPA, “not the [Harmonized Tariff
Schedule],” is “the substantive law under which the President acted.” Id.

                                         21
               Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 34 of 67




‘laws’ of the United States.” Dreyfus v. Von Finck, 534 F.2d 24, 29 (2d Cir. 1976)

(collecting cases). The question of whether the tariff orders, and the modifications

made to the Harmonized Tariff Schedule to reflect them, are “under authority of

law” necessarily requires resolution of the scope of the President’s authority under

IEEPA. If IEEPA does not authorize the President to impose tariffs, then the

challenged tariff orders and corresponding Harmonized Tariff Schedule

modifications were not made “under authority of law” and cannot constitute “laws

of the United States” that would vest the Court of International Trade with

exclusive jurisdiction under 28 U.S.C. § 1581(i)(1). See, e.g., Youngstown, 343

U.S. at 585 (“The President’s power, if any, to issue [an] order must stem either

from an act of Congress or from the Constitution itself.”).

      The district court did not conduct any analysis of whether IEEPA authorizes

the tariffs. As explained further below, IEEPA does not, and neither the

challenged executive orders nor the resulting Harmonized Tariff Schedule

modifications confer the Court of International Trade with jurisdiction over

California’s claims, even if one were to accept that the case arises out of the

executive orders rather than IEEPA.

II.   CONGRESS DID NOT DELEGATE THE PRESIDENT AUTHORITY IN IEEPA
      TO IMPOSE TARIFFS

      This action arises out of IEEPA, see supra pp. 15-19, and IEEPA is not a

statute “providing for . . . tariffs,” as required under Section 1581(i)(1). That


                                          22
               Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 35 of 67




conclusion is compelled by IEEPA’s plain text, and is confirmed by statutory

context, legislative history, historical practice, and constitutional principles.

     A.   IEEPA’s Plain Text Does Not Provide for Tariffs

     The power to impose tariffs is a core legislative power. See U.S. Const. art. I,

§ 8, cl. 1. “The President has no independent discretion to impose or alter tariffs.

Any Presidential tariffing authority must be delegated by Congress.” Learning

Res., 2025 WL 1525376, at *9 (citation omitted); see also Youngstown, 343 U.S. at

585; Consumers Union of U.S., Inc. v. Kissinger, 506 F.2d 136, 142-43 (D.C. Cir.

1974). In stark contrast to the several laws where Congress has expressly granted

the President authority to impose tariffs, subject to important constraints, IEEPA—

which is part of Title 50, denominated “War and National Defense”—does not

reference “tariffs,” “duties,” or any other similar term, such as “‘customs,’ ‘taxes,’

or ‘imposts.’” Learning Res., 2025 WL 1525376, at *8; see Jama v. Immigr. &

Customs Enf ’t, 543 U.S. 335, 341 (2005) (“We do not lightly assume that

Congress has omitted from its adopted text requirements that it nonetheless intends

to apply.”).

     Instead, IEEPA provides that during a certain type of declared national

emergency, the President is authorized to take eight enumerated actions with

respect to twelve enumerated activities involving foreign persons, goods, or

property. Specifically, the President may: (1) “investigate,” (2) “block during the



                                           23
               Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 36 of 67




pendency of an investigation,” (3) “regulate,” (4) “direct and compel,” (5)

“nullify,” (6) “void,” (7) “prevent,” and (8) “prohibit.” 50 U.S.C. § 1702(a)(1)(B).

And the President may do so with respect to an: (1) “acquisition,” (2) “holding,”

(3) “withholding,” (4) “use,” (5) “transfer,” (6) “withdrawal,” (7) “transportation,”

(8) “importation,” (9) “exportation,” (10) “dealing,” (11) “exercis[e] of “any right,

power, or privilege,” and (12) “transaction[ ]” involving “any property in which

any foreign country or a national thereof has any interest by any person, or with

respect to any property, subject to the jurisdiction of the United States.” 50 U.S.C.

§ 1702(a)(1)(B). There is no residual clause providing the President any additional

powers. And IEEPA provides that the President’s powers “may not be exercised

for any other purpose” other than “to deal with an unusual and extraordinary

[foreign] threat with respect to which a national emergency has been declared.” Id.

§ 1701(b).

     Defendants contend that the authority under IEEPA to “regulate . . .

importation” encompasses the power to impose tariffs. ER-44. But as a matter of

plain meaning, the power to “regulate” is fundamentally different from, and does

not encompass, the power to tax or tariff. See Learning Res., 2025 WL 1525376,

at *8; Bostock v. Clayton Cnty., 590 U.S. 644, 654 (2020) (“[Courts] normally

interpret[ ] a statute in accord with the ordinary public meaning of its terms at the

time of its enactment.”).


                                          24
               Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 37 of 67




     To “regulate” is to “[c]ontrol by rule” or “subject to restrictions.” Regulate,

THE CONCISE OXFORD DICTIONARY OF CURRENT ENGLISH 943 (6th ed. 1976); see

also Ysleta del Sur Pueblo v. Texas, 596 U.S. 685, 697 (2022) (“[T]o regulate

something is usually understood to mean to ‘fix the time, amount, degree, or rate’

of an activity ‘according to the rule[s].’” (quoting Regulate, WEBSTER’S THIRD

INTERNATIONAL DICTIONARY 1913 (1986))). 12 Accordingly, regulations on

importation might include limiting the quantity of a particular good that may be

imported into the United States, imposing safety inspections on certain goods, and

permitting imports to enter the United States only at certain times.

     Regulating imports does not include tariffing or taxing imports. “A tariff is a

tax levied on imported goods and services.” Christopher A. Casey, Cong. Rsch.

Serv., IF 11030, U.S. Tariff Policy: Overview 1 (Jan. 31, 2025),

https://www.congress.gov/crs-product/IF11030; see also Tariff, THE CONCISE

OXFORD DICTIONARY OF CURRENT ENGLISH 1183-84 (6th ed. 1976) (“List of duties

or customs to be paid on imports or exports; such duties collectively; law imposing



      12
          See also, e.g., Regulate, BLACK’S LAW DICTIONARY 1156 (5th ed. 1979)
(“fix, establish or control; to adjust by rule, method, or established mode; to direct
by rule or restriction; to subject to governing principles or laws”); Regulate, NEW
WEBSTER’S DICTIONARY OF THE ENGLISH LANGUAGE 1264 (1975) (“[t]o adjust by
rule or established mode; to govern by or subject to certain rules or restrictions”);
Regulate, RANDOM HOUSE COLLEGE DICTIONARY 1112 (rev. ed. 1975) (“to control
or direct by a rule, principle, method, etc.”); Regulate, AMERICAN HERITAGE
DICTIONARY 1096 (1976) (“[t]o control or direct according to a rule”).

                                          25
               Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 38 of 67




these; duty on particular class of goods.”); United States v. Patel, 762 F.2d 784,

791 (9th Cir. 1985) (“‘[D]uty’ is commonly defined as ‘a tax imposed by law on

the import or export of goods.’”). And a tax is a “[c]ontribution levied on . . .

persons, property, or business, for support of national or local government.” Tax,

THE CONCISE OXFORD DICTIONARY OF CURRENT ENGLISH 1186 (6th ed. 1976); see

also Nat’l Fed’n of Indep. Bus. v. Sebelius, 567 U.S. 519, 564 (2012) (“[T]he

essential feature of any tax” is that “[i]t produces at least some revenue for the

Government.”).

     In short, then, “[t]o regulate is to establish rules governing conduct; to tariff is

to raise revenue through taxes on imports or exports.” Learning Res., 2025 WL

1525376, at *8. “Those are not the same.” Id. Tariffs do not control or otherwise

govern the importation process or the imported goods and services themselves.

They may indirectly affect the behavior of market participants, but their only actual

operation is to require the importer (not the foreign country from which the import

originated) to pay the government a percentage of the value of the imported

property. See id. (citing Tom Campbell, Presidential Authority to Impose Tariffs,

83 La. L. Rev. 595, 598 (2023) (“tariffs are economically different from

quantitative import restraints”)); ER-25, ER-37–38.

     Courts in a variety of contexts have recognized that the power to regulate

does not encompass the power to tax absent specific authorization. See, e.g.,


                                           26
               Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 39 of 67




Jefferson Cnty. v. Acker, 527 U.S. 423, 440 (1999) (explaining that imposing a tax

on federal officials does “no[t] in any way regulate[ ] them in the performance of

their duties”); Diginet, Inc. v. Western Union ATS, Inc., 958 F.2d 1388, 1399 (7th

Cir. 1992) (noting that “[t]he legal power to regulate is not necessarily the legal

power to tax” and holding that a municipality’s “power to regulate” did not include

the power to “generate revenues” through taxation “without explicit authority from

the state”); Patel, 762 F.2d at 791 (relying on “common meanings of the words

‘duty’ and ‘quota’” to reject argument that quota restrictions on coffee imports

were a type of duty). As Chief Justice Marshall explained in a foundational case,

“the power to regulate commerce is . . . entirely distinct from the right to levy taxes

and imposts.” Gibbons v. Ogden, 22 U.S. (9 Wheat.) 1, 201 (1824) (Marshall,

C.J.). The Constitution treats the power to regulate and the power to impose tariffs

separately because they are not substitutes. See id. at 198-99 (describing the power

to tax and the power to regulate as “not . . . similar in their terms or their nature”).

     Congress has likewise demonstrated its awareness of the distinction between

the power to “regulate” and the power to “tax.” It has repeatedly used “regulate”

and “tax” as separate powers when discussing the delegation of those powers in the

context of a single statute. See, e.g., 49 U.S.C. § 40117(j) (“tax, regulate, or

prohibit”); 16 U.S.C. § 460bbb-9(a) (power “to tax . . . or to regulate”); 2 U.S.C.

§ 622(8)(B)(i) (“power to tax or to regulate interstate commerce”); cf. 16 U.S.C.


                                           27
               Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 40 of 67




§ 1540(f) (differentiating the authority “to promulgate such regulations as may be

appropriate to enforce” the Endangered Species Act from the authority to “charge

reasonable fees for expenses to the Government connected with [authorized]

permits or certificates”).

     And Congress has granted agencies the power to “regulate” in many statutes

that have never been understood to also grant the power to tax. The Food and

Drug Administration, for instance, has never claimed the power to tax a “drug,

biological product, device, or . . . combination product” based on its authority to

“regulate” those products. 21 U.S.C. § 360bbb-2(a). Nor has the Securities and

Exchange Commission ever used its power to “regulate” certain “transactions on a

national securities exchange” to tax those transactions, 15 U.S.C. § 78k(a)(2). See

also, e.g., 12 U.S.C. § 5491(a) (granting Consumer Financial Protection Bureau

power to “regulate the offering and provision of consumer financial products or

services”).

     Moreover, when Congress has authorized the President or an agency to

impose tariffs, it has done so expressly, using the terms “duties” or “tariffs.” See

19 U.S.C. §§ 1338, 1862, 2132(a), 2253, 2411-2419. Thus, Section 1338(a) grants

the President the authority to “declare new or additional duties on imports,” in

specified circumstances; Section 1671 provides for “countervailing duties”;

Section 2132(a) authorizes the President to impose an “import surcharge . . . in the


                                         28
               Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 41 of 67




form of duties . . . on articles imported into the United States” in narrow

circumstances; Section 1862(a) prohibits actions taken “to decrease or eliminate

the duty . . . on any article if the President determines that such reduction or

elimination would threaten to impair the national security”; Section 2411(c)(1)(B)

authorizes the United States Trade Representative to “impose duties” on a foreign

country’s goods under specified circumstances; and Section 2253(a)(3)(A)

authorizes the President to “proclaim an increase in, or the imposition of, any duty

on the imported article” when the U.S. International Trade Commission finds that a

domestic industry is at risk of serious injury. Section 1702(a)(1)(B) of IEEPA

does not include any such language.

     B.   Statutory Context Confirms That IEEPA Does Not Provide for
          Tariffs
     “It is a fundamental canon of statutory construction that the words of a statute

must be read in their context and with a view to their place in the overall statutory

scheme.” West Virginia v. Env’t Prot. Agency, 597 U.S. 697, 721 (2022). Under

“the commonsense canon of noscitur a sociis[,] . . . a word is given more precise

content by the neighboring words with which it is associated.” United States v.

Williams, 553 U.S. 285, 294 (2008). Reading the phrase “regulate . . .

importation” in the context of Section 1702(a)(1)(B) in its entirety confirms that

the phrase does not confer the power to impose tariffs.




                                          29
               Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 42 of 67




     First, Section 1702(a)(1)(B) grants the President eight emergency powers

with respect to “importation”: (1) “investigate,” (2) “block during the pendency of

an investigation,” (3) “regulate,” (4) “direct and compel,” (5) “nullify,” (6) “void,”

(7) “prevent,” and (8) “prohibit.” 50 U.S.C. § 1702(a)(1)(B). Those powers all

concern the ability to control the quantity or quality of imports; none encompass

the ability to tariff, tax, or otherwise generate revenue. See Learning Res., 2025

WL 1525376, at *9. “Even if regulate may take a broad meaning in other contexts,

the words immediately surrounding it” in Section 1702(a)(1)(B) “‘cabin the

contextual meaning of that term’ here.” Id. (quoting Yates v. United States, 574

U.S. 528, 543 (2015)); see also, e.g., Williams, 553 U.S. at 294 (applying noscitur

a sociis to interpret the meaning of two verbs in a list of five). Accordingly, when

read alongside the seven other powers with which it is listed, “[n]ot one of [which]

deals with the power to raise revenue,” the power to “‘regulate’ is appropriately

read to refer to the President’s power to issue economic sanctions, not to tariff.”

Learning Res., 2025 WL 1525376, at *9.

     Second, Section 1702(a)(1)(B) of IEEPA provides that each of the eight

emergency powers can be applied to twelve different activities concerning

“property in which any foreign country or a national thereof has any interest”:

(1) “acquisition,” (2) “holding,” (3) “withholding,” (4) “use,” (5) “transfer,”

(6) “withdrawal,” (7) “transportation,” (8) “importation,” (9) “exportation,”


                                          30
               Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 43 of 67




(10) “dealing,” (11) the “exercis[e] of “any right, power, or privilege,” and

(12) “transactions.” 50 U.S.C. § 1702(a)(1)(B). “Regulate” must have a consistent

meaning as to all twelve of the activities Congress saw fit to enumerate in the list.

See Conchise Consultancy, Inc. v. United States ex rel. Hunt, 587 U.S. 262, 268

(2019) (“In all but the most unusual situations, a single use of a statutory phrase

must have a fixed meaning.”); Brown v. Gardner, 513 U.S. 115, 118-20 (1994)

(noting that “a given term is used to mean the same thing throughout a statute” and

rejecting interpretation of statutory term that could not be applied to all items in a

list without “incongruity”). There is no reasonable way to construe “regulate” to

encompass the power to tariff or tax all twelve of these activities.

     To start, such a construction would be nonsensical. Consider, for example,

the phrase “regulate . . . use.” As a matter of plain English, no one would say that

to “regulate use” of pesticides in organic food, confidential trade secrets in product

design, medical records outside patient care, or steroids in sporting events includes

the power to tariff or tax such use. Instead, “regulate use” is naturally understood

to mean to control or fix the time, amount, or degree of use. See Ysleta del Sur

Pueblo, 596 U.S. at 697; supra p. 25.

     In addition, construing “regulate” to authorize the President to tariff or tax all

twelve of the enumerated activities—including acquisitions, holdings,

withholdings, and uses of property—would mean that Congress obliquely granted


                                          31
               Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 44 of 67




the President an immense and unheralded taxing power. But Congress does not

“hide elephants in mouseholes.” Whitman v. Am. Trucking Assns., Inc., 531 U.S.

457, 468 (2001). If Congress had intended to grant the President such

extraordinary authority, it would have had to say so. See Biden v. Nebraska, 600

U.S. 477, 506 (2023); Gustafson v. Alloyd Co., Inc., 513 U.S. 561, 575 (1995)

(cautioning courts “to avoid ascribing to one word a meaning so broad that it is

inconsistent with its accompanying words, thus giving ‘unintended breadth to the

Acts of Congress’”).

     Such a construction of “regulate” would also render IEEPA unconstitutional

in certain applications. IEEPA grants the President authority to “regulate . . .

importation or exportation.” 50 U.S.C. § 1702(a)(1)(B) (emphasis added). And

under defendants’ view that “regulate” includes the power to tariff and tax, IEEPA

would authorize the President to impose tariffs on exportation. But the

Constitution expressly bars tariffs on exports. U.S. Const. art. I, § 9, cl. 5; see

United States v. U.S. Shoe Corp, 523 U.S. 360, 363 (1998). The doctrine of

constitutional avoidance thus counsels against interpreting “regulate” to encompass

the power to impose tariffs or taxes, as that interpretation would “raise[ ] serious

constitutional doubts.” Jennings v. Rodriguez, 583 U.S. 281, 286 (2018); see also

Learning Res., 2025 WL 1525376, at *11 (“If the term ‘regulate’ were construed to

encompass the power to impose tariffs, it would necessarily empower the President


                                           32
                Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 45 of 67




to tariff exports, too. The Court cannot interpret a statute as unconstitutional when

any other reasonable construction is available.”).

     Perhaps in light of these many interpretive problems, defendants took the

position below that “regulate” “need not carry the same meaning” as to each

activity enumerated in Section 1702(a)(1)(B) because “regulate” is a “transitive

verb.” ER-42; see also ER-20–21. Defendants proffered no support for that

approach, and it is at odds with fundamental precepts of statutory construction.

See, e.g., Brown, 513 U.S. at 118; cf. Williams, 553 U.S. at 294-95 (interpreting

meaning of transitive verbs without any suggestion that meaning fluctuates based

on their object); TikTok v. Trump, 507 F. Supp. 3d 92, 103 (D.D.C. 2020) (noting

that “regulate” is a transitive verb that “require[s] an object . . . to express a

complete thought,” and proceeding to interpret “regulate” as used in another

IEEPA provision to mean “control,” without regard to the particular objects being

regulated).13


      13
         One further tension between defendants’ interpretation and the statutory
context: Section 1702(a)(1)(B) of IEEPA applies only to “property in which any
foreign country or a national thereof has any interest,” 50 U.S.C. § 1702(a)(1)(B)
(emphasis added). Yet tariffs are often paid on property in which a foreign country
or national no longer has any interest because the property has already entered the
United States and been taken under the full control of the U.S. importer at the time
the U.S. importer pays the tariff. See, e.g., U.S. Customs & Border Protection,
Entry Summary and Post Release Processes, https://www.cbp.gov/trade/programs-
administration/entry-summary (last modified Apr. 10, 2025); Learning Res., 2025
WL 1525376, at *10. Congress knew how to refer to property in which a foreign
                                                                       (continued…)

                                            33
              Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 46 of 67




     Finally, IEEPA does not include any of the “procedural, substantive, and

temporal limits” found in statutes where Congress expressly delegated the

President the authority to impose tariffs. Learning Res., 2025 WL 1525376, at *9.

Section 122 of the Trade Act of 1974, for example, permits the President to impose

tariffs to “deal with large and serious United States balance-of-payment deficits,”

but only up to 15 percent and only for up to 150 days absent congressional

approval. 19 U.S.C. § 2132(a). Section 301 of the same Act permits an executive

officer serving under the President to “impose duties or other import restrictions”

on a foreign country’s goods, but only after notice, investigation, and a finding that

the foreign country engaged in unfair trade practices or violated trade agreements

with the United States. Id. § 2411(c). And Section 338 of the Tariff Act of 1930

allows the President to “declare new or additional duties” on imports from

countries that have discriminated against the United States in trade, but only up to

50 percent and only after a 30-day waiting period. Id. § 1338(a), (d), (e). The

President invoked IEEPA precisely because these carefully reticulated tariff

schemes would not allow his country-specific tariff orders. See ER-7.




country or national previously had an interest—the same subsection of IEEPA
provides that the President can require individuals to keep records of property in
which a foreign country or national “has or has had any interest.” 50 U.S.C.
§ 1702(a)(2) (emphasis added).

                                         34
               Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 47 of 67




     The absence of similar limits on the President’s authority to impose or alter

tariffs further indicates that IEEPA does not authorize tariffs. “‘It would be

anomalous,’ to say the least, ‘for Congress to have so painstakingly described the

[President’s] limited authority’ on tariffs in other statutes, ‘but to have given him,

just by implication,’ nearly unlimited tariffing authority in IEEPA.” Learning

Res., 2025 WL 1525376, at *9 (quoting Gonzales v. Oregon, 546 U.S. 243, 262

(2006)).

     C.    Legislative History and Historical Practice Confirm That
           IEEPA Does Not Provide for Tariffs
     The legislative history of TWEA and IEEPA, as well as historical practice

associated with both statutes, further confirm that IEEPA does not provide for

tariffs. See, e.g., Abramski v. United States, 573 U.S. 169, 179 (2014) (“[Courts]

must . . . interpret the relevant words not in a vacuum, but with reference to the

statutory context, ‘structure, history, and purpose,’” as well as “common sense.”).

     Section 1702(a)(1) of IEEPA evolved from Section 5(b) of the Trading With

the Enemy Act. See Pub. L. No. 65-91, 40 Stat. 411 (1917); supra p. 6. As

originally enacted in 1917, TWEA prohibited trade with “enemy” nations and their

allies and permitted the seizure of “enemy property” within the United States.

H.R. Rep. No. 65-85, at 1-2 (1917); Pub. L. No. 65-91, §§ 3(a), 6. Section 5(b)

granted the President authority to restrict foreign financial transactions during

times of war—specifically, to “investigate,” “regulate,” and “prohibit” transactions


                                          35
               Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 48 of 67




in foreign exchange, gold, and silver, and transfers of credit, evidence of

indebtedness (e.g., bonds), and evidence of ownership (e.g., stocks) between the

United States and foreign countries. Id. § 5(b). “Regulate” as used in Section 5(b)

could not have encompassed the power to impose tariffs, because Congress did not

include imports as one of the enumerated things that the President could

“regulate.”

     During the Great Depression, Congress amended Section 5(b) to authorize the

President to exercise his powers during national emergencies, not just wartime, and

to do so with respect to purely domestic financial transactions. See Emergency

Banking Relief Act, Pub. L. No. 73-1, § 2, 48 Stat. 1 (1933). Days after the attack

on Pearl Harbor, Congress further amended Section 5(b), adding much of the

language that now appears in Section 1702(a)(1)(B) of IEEPA, including the

power to “regulate . . . importation” of foreign property. See First War Powers

Act, Pub. L. No. 77-354, § 301, 55 Stat. 838 (1941) (adding seven powers as

applied to twelve activities).

     At no point did any version of Section 5(b) of TWEA ever mention tariffs,

taxes, or revenue. Nor did the congressional reports accompanying the original

enactment or any of the amendments contain any such reference.

     IEEPA’s legislative history likewise contains no indication that Congress

intended to grant the President authority to impose tariffs. Congress enacted


                                         36
              Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 49 of 67




IEEPA as part of a series of reforms in response to concerns that Presidents were

misusing declarations of national emergency to exercise “extraordinary powers,”

particularly with respect to foreign policy. S. Rep. No. 94-922, at 1 (1976); Regan

v. Wald, 468 U.S. 222, 245 (1984) (Blackmun, J., dissenting) (discussing history).

First, in 1976, Congress passed the National Emergencies Act to terminate all

existing declarations of national emergencies and place new restrictions on the

President’s ability to declare a national emergency in the future. See Pub. L. No.

94-412 § 101, 90 Stat. 1255 (1976). Then, in 1977, Congress amended Section

5(b) of TWEA to limit its application only to times of war. Act of Dec. 28, 1977,

Pub. L. No. 95-233, § 101, 91 Stat. 1625 (1977); see 50 U.S.C. § 4305(b)(1). And

at the same time, Congress enacted IEEPA to grant the President certain authority

to “deal with” a declared national emergency resulting from “an[ ] unusual and

extraordinary threat” outside the United States. 50 U.S.C. § 1701(a); see Pub. L.

No. 95-223, §§ 201-08, 91 Stat. 1625 (1977).

     The emergency powers set out in Section 1702(a)(1)(B) of IEEPA are largely

those that previously were set out in Section 5(b) of TWEA, but are limited to

transactions involving foreign countries and nationals. 50 U.S.C. § 1702(a)(1)(B);

see H.R. Rep. No. 95-459, at 2 (1977) (describing the President’s powers under

Section 1702(a)(1)(B) as “more limited in scope than those of [TWEA] and subject

to various procedural limitations”). The Senate and House Reports described these


                                         37
              Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 50 of 67




powers as the ability to regulate foreign exchange and banking transactions, “to

control or freeze property transactions where a foreign interest is involved,” and to

require recordkeeping. S. Rep. No. 95-466, at 5 (1977); see also H.R. Rep. No.

95-459, at 14-15 (similar). But legislators never expressed their view that IEEPA

would authorize the President to impose taxes, tariffs, or otherwise generate

revenue.

     Against this backdrop, it is hardly surprising that in the more than 100 years

since TWEA’s enactment, no President ever before invoked TWEA or IEEPA to

impose tariffs. See Learning Res., 2025 WL 152376, at *10; supra p. 7.14 Instead,

Presidents invoked Section 5(b) of TWEA to impose economic sanctions on

foreign countries; regulate foreign exchange, credit transfers, and coin and

currency exports; control gold hoarding; and limit direct foreign investment by

U.S. companies. See Casey & Elsea, supra, at 6. And they relied on IEEPA to

impose targeted sanctions on a range of persons and countries. See id. at 15;

Learning Res., 2025 WL 152376, at *10; supra p. 7. That “‘longstanding practice



      14
         The U.S. Department of Justice once argued in response to litigation that
Section 5(b) of TWEA authorized President Nixon’s 1971 tariff action. See
Yoshida Int’l, Inc. v. United States, 378 F. Supp. 1155, 1157 (Cust. Ct. 1974),
rev’d, 526 F.2d 560 (C.C.P.A. 1975). But President Nixon did not invoke or even
mention Section 5(b) in the Proclamation imposing or rescinding the tariffs; he
relied solely on the Trade Expansion Act of 1962 and the Tariff Act of 1930. See
Proclamation No. 4074, 36 Fed. Reg. 15724 (Aug. 17, 1971); Proclamation No.
4098, 36 Fed. Reg. 24201 (Dec. 22, 1971); infra pp. 41-42.

                                         38
               Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 51 of 67




of the government . . . can inform [the] [C]ourt’s determination of what [IEEPA

provides].’” Loper Bright Enters. v. Raimondo, 603 U.S. 369, 386 (2024) (internal

quotation marks omitted). And the “‘lack of historical precedent,’ coupled with

the breadth of authority that the [President] now claims, is a ‘telling indication’

that” imposing tariffs under IEEPA “extends beyond the [President’s] legitimate

reach.” Nat’l Fed’n of Indep. Bus. v. Dep’t of Lab., 595 U.S. 109, 119 (2022) (per

curiam).

     D.    Constitutional Principles Support the Conclusion That IEEPA
           Does Not Provide for Tariffs
     Finally, the major-questions and nondelegation doctrines counsel strongly in

favor of the conclusion that IEEPA does not provide for tariffs. In imposing

sweeping tariffs pursuant to IEEPA, the President “‘claim[ed] to discover in a

long-extant statute an unheralded power’ representing a ‘transformative expansion

in . . . authority” with “‘vast economic and political significance.’” West Virginia,

597 U.S. at 716, 724; see also Nebraska v. Su, 121 F.4th 1, 14 (9th Cir. 2024).

Courts “‘expect Congress to speak clearly’” in such circumstances. West Virginia,

597 U.S. at 716. The notion that Congress delegated the power to impose tariffs—

a power so core to Congress that the Founders listed it first among Congress’s

powers, see U.S. Const. art. I, § 8, cl. 1—through use of the phrase “regulate . . .

importation,” in the context of a list of seven other verbs and eleven other objects,

cannot be squared with the major-questions doctrine (or any other interpretive


                                          39
                 Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 52 of 67




principle). See West Virginia, 597 U.S. at 723 (“Extraordinary grants of regulatory

authority are rarely accomplished through ‘modest words,’ ‘vague terms,’ or

‘subtle device[s].’”); id. at 732 (“Such a vague statutory grant is not close to the

sort of clear authorization required.”); Ala. Ass’n of Realtors v. Dep’t of Health &

Hum. Servs., 594 U.S. 758, 764-65 (2021) (per curiam) (rejecting government’s

broad interpretation of statute as “a wafer-thin reed on which to rest such sweeping

power”); see also Whitman, 531 U.S. at 468 (Congress “does not alter the

fundamental details of a regulatory scheme in vague terms or ancillary

provisions.”).

     Moreover, holding that IEEPA provides for tariffs would raise serious doubts

about whether IEEPA is an unconstitutional delegation of legislative power. See

Learning Res., 2025 WL 1525376, at *9. When Congress delegates legislative

power to the Executive Branch, it must “lay down by legislative act an intelligible

principle to which [the Executive] is directed to conform.” Whitman, 531 U.S. at

472; see also Fed. Commc’ns Comm’n v. Consumers’ Research, No. 24-354, 606

U.S. __, 2025 WL 1773630, at *8 (U.S. June 27, 2025). On the President’s view,

IEEPA lacks any such intelligible principle with respect to tariffs—the President

may impose, revise, or rescind tariffs on any goods, from any country, at any rate,

at any time, to address any situation he declares to be a national emergency. The




                                           40
               Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 53 of 67




Court should construe IEEPA to avoid these doubts. See Gonzalez v. United

States, 553 U.S. 242, 251 (2008).

III. DEFENDANTS’ OTHER ARGUMENTS ARE UNPERSUASIVE
     In the proceedings below, defendants argued that United States v. Yoshida

International, Inc., 526 F.2d 560 (C.C.P.A. 1975), an out-of-circuit opinion from

fifty years ago, as well as a need for uniformity and judicial expertise, support the

Court of International Trade’s exclusive jurisdiction over this action. See D. Ct.

Dkt. 9 at 9-11; D. Ct. Dkt. 14 at 4-6, 8-10; D. Ct. Dkt. 55 at 12, 16-18. Those

arguments are no “reason for this Court to reject IEEPA’s plain meaning.”

Learning Res., 2025 WL 1525376, at *12.

     A.   Yoshida Is Not Binding on This Court, Is Not Persuasive on Its
          Own Terms, and Does Not Resolve the Question Whether
          IEEPA Provides for Tariffs
     Yoshida concerned the legality of President Nixon’s imposition of a surcharge

on certain imported goods that were subject to tariff rates set by Congress but had

previously been subject to tariff concessions. See 562 F.2d at 567. The surcharge

increased the tariff rates for those goods, but only up to (and not above) the rates

set by Congress. Id. at 568, 677.

     When announcing and later rescinding the tariffs, President Nixon invoked

the Tariff Act of 1930 and the Trade Expansion Act of 1962 as his sources of

authority. See Yoshida, 562 F.2d at 569; 36 Fed. Reg. 15724; 36 Fed. Reg. 24201.



                                          41
              Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 54 of 67




But when an importer filed a refund action in the U.S. Customs Court (the

predecessor to the Court of International Trade), alleging that the tariffs had been

imposed without authorization, the U.S. Department of Justice argued that the

tariffs were also authorized under Section 5(b) of TWEA. Yoshida, 378 F. Supp. at

1157. 15 A three-judge panel of the Customs Court held that Section 5(b) did not

authorize the imposition of tariffs, but the Court of Customs and Patent Appeals

(the predecessor to the Federal Circuit) reversed, concluding that Section 5(b)

authorized President Nixon’s particular import surcharge, though did not authorize

an “unlimited” exercise of tariff power. Yoshida Int’l, Inc. v. United States, 378 F.

Supp. 1155, 1171-72 (Cust. Ct. 1974), rev’d, 526 F.2d at 576, 583.

     That decision is not binding on this Court.16 It is also unpersuasive on its own

terms. The Court of Customs and Patent Appeals did not undertake any analysis of

the plain meaning of the words “regulate . . . importation” or their place in the

statutory provision. Instead, the court considered only “the intent of Congress”




      15
         Congress later disallowed post hoc invocations of statutory authority to
exercise emergency powers when it enacted the National Emergencies Act. See 50
U.S.C. § 1631.
      16
         This Court recounted the holding of Yoshida in its decision in Cornet
Stores v. Morton, a case about the Customs Court’s jurisdiction under the pre-1980
version of 50 U.S.C. § 1582, but did not adopt its reasoning. See Cornet Stores v.
Morton, 632 F.2d 96, 97, 99 (9th Cir. 1980); see also, e.g., Ohno v. Yasuma, 723
F.3d 984, 999 n.17 (9th Cir. 2013) (citing decisions from other courts does not
automatically “adopt or sanction any of their specific holdings”).

                                          42
               Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 55 of 67




and “the broad purposes of [TWEA].” Id. at 583. “That is no longer how courts

approach statutory interpretation.” Learning Res., 2025 WL 1525376 at *12

(collecting cases); see, e.g., Orozco-Lopez v. Garland, 11 F.4th 764, 776 (9th Cir.

2021). And as detailed above, the plain meaning of “regulate . . . importation”

does not encompass the power to impose tariffs. See supra pp. 25-29.

     Moreover, the court took the wrong signal from the lack of any legislative

history indicating congressional intent to delegate tariff authority to the President.

See Yoshida, 526 F.2d at 572-73, 576. The court considered such silence to

authorize the imposition of tariffs. But that silence offers strong evidence that

Congress did not delegate such authority to the President. See supra pp. 35-38.

     The court also failed to adequately account for congressional action in the

wake of President Nixon’s surcharge order. While Yoshida was pending, Congress

passed Section 122 of the Trade Act of 1974, which specifically authorized (and

also circumscribed) the very kind of tariffs that President Nixon had imposed.

Pub. L. No. 63-618, 88 Stat. 1978 (1975); 19 U.SC. §§ 2132(a), 2411(c)(1)(B).

The court noted this development and acknowledged that any future surcharge

“must comply” with the Trade Act, though it declined to consider the Act’s

relevance to the interpretive question before it. See Yoshida, 526 F.2d at 582 n.33.

But Congress would have had no reason to enact Section 122 if it thought that




                                          43
              Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 56 of 67




Section 5(b) allowed President Nixon to impose his tariffs. See Learning Res.,

2025 WL 1525376, at *12.

     In any event, Yoshida does not resolve the question on appeal here, because it

was about Section 5(b) of TWEA, not Section 1702(a)(1)(B) of IEEPA.

Defendants suggested below that Congress incorporated Yoshida’s construction of

“regulate . . . importation” when it enacted IEEPA, see D. Ct. Dkt. 14 at 9; D. Ct.

Dkt. 55 at 2, 16-17, but they pointed to nothing in the legislative history of IEEPA

that suggests anything beyond Congress’s mere awareness of the decision. A

single lower-court opinion does not “represent the sort of judicial consensus so

broad and unquestioned that [courts] must presume Congress knew of and

endorsed it.” BP P.L.C. v. Mayor & City Council of Balt., 141 S. Ct. 1532, 1541

(2021). “And it certainly cannot do so where, as here, the text and structure of the

statute are to the contrary.” Id.; see also Learning Res., 2025 WL 1525376, at *12.

Indeed, even judges on the Court of International Trade—which is bound by

decisions from the Federal Circuit and its predecessor court—do not regard

Yoshida as resolving the question whether IEEPA grants the President authority to

impose tariffs. See V.O.S. Selections, Inc. v. United States, No. 1:25-cv-00066,

Dkt. 63 (Ct. Int’l Trade June 3, 2025), slip. op. 3 (explaining it was leaving open

the question “whether IEEPA authorizes tariffs as a categorical matter”).




                                         44
               Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 57 of 67




     B.   Considerations of Uniformity and Expertise Do Not Support
          Exclusive Jurisdiction Over This Action in the Court of
          International Trade
     To the extent considerations of uniformity and expertise are relevant to the

jurisdictional analysis under Section 1581(i)(1), but see Zukerman v. U.S. Postal

Serv., 961 F.3d 431, 445 (D.C. Cir. 2020) (holding district court “erred in looking

to ‘practical considerations’” in declining to exercise its jurisdiction), they weigh

in favor of allowing this case to proceed in federal district court, not the Court of

International Trade.

     Congress’s interest in the “uniform administration of customs laws” does not

support defendants’ view that the Court of International Trade has exclusive

jurisdiction over this action. Contra ER-12. The district court suggested that it

“would be inconsistent with Congressional intent” for the district court to decide

whether the tariff orders are authorized by IEEPA when the Court of International

Trade had held that it has exclusive jurisdiction to hear other cases challenging the

same executive orders. ER-13–14. But “[f]ederal courts are always ‘under an

independent obligation to examine their own jurisdiction.’” Hernandez v.

Campbell, 204 F.3d 861, 865 (9th Cir. 2000). Even if that means a possible

conflict in the courts, such conflict is unremarkable; the U.S. Supreme Court has

previously resolved a circuit split over the meaning and application of a different

provision of Section 1581(i). See K Mart Corp., 485 U.S. at 182-83, 191



                                          45
                  Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 58 of 67




(resolving split between D.C. Circuit and Federal Circuit by holding jurisdiction

was proper in district court).

     Furthermore, the Court of International Trade has “‘unique and specialized

expertise in trade law,’” not in adjudicating IEEPA matters. Marmen Inc. v.

United States, 134 F.4th 1334, 1338 (Fed. Cir. 2005). For the last half-century,

federal district courts have been handling IEEPA cases, citing Sections 1701 and

1702 hundreds of times. See Learning Res., 2025 WL 1525376, at *10 (collecting

cases). But as far as California is aware, other than the current actions challenging

the President’s IEEPA tariff orders, publicly available decisions from the Court of

International Trade have never once cited IEEPA’s provisions, nor has the federal

government ever moved to transfer an IEEPA case from district court to the Court

of International Trade. Id. If anything, it is the conclusion that the Court of

International Trade has exclusive jurisdiction over IEEPA actions that will hinder

the utilization of judicial expertise by suddenly shunting cases to the Court of

International Trade that until now have been heard by district courts.

     Federal district courts routinely handle suits alleging that that the executive

branch abused or exceeded its statutory authority, and they are well equipped to do

so. California’s present action, like those other lawsuits, is properly heard in

district court.




                                            46
              Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 59 of 67




                                 CONCLUSION

     The judgment of the district court should be reversed.



Dated: June 30, 2025                    Respectfully submitted,

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                                        47
              Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 60 of 67




                          STATUTORY ADDENDUM


28 U.S.C. § 1581. Civil actions against the United States and agencies and

officers thereof

(a) The Court of International Trade shall have exclusive jurisdiction of any civil

action commenced to contest the denial of a protest, in whole or in part, under

section 515 of the Tariff Act of 1930.

(b) The Court of International Trade shall have exclusive jurisdiction of any civil

action commenced under section 516 of the Tariff Act of 1930.

(c) The Court of International Trade shall have exclusive jurisdiction of any civil

action commenced under section 516A or 517 of the Tariff Act of 1930.

(d) The Court of International Trade shall have exclusive jurisdiction of any civil

action commenced to review--

      (1) any final determination of the Secretary of Labor under section 223 of

      the Trade Act of 1974 with respect to the eligibility of workers for

      adjustment assistance under such Act;

      (2) any final determination of the Secretary of Commerce under section 251

      of the Trade Act of 1974 with respect to the eligibility of a firm for

      adjustment assistance under such Act;




                                         48
              Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 61 of 67




      (3) any final determination of the Secretary of Commerce under section

      273 of the Trade Act of 1974 with respect to the eligibility of a community

      for adjustment assistance under such Act; and

      (4) any final determination of the Secretary of Agriculture under section 293

      or 296 of the Trade Act of 1974 (19 U.S.C. 2401b) with respect to the

      eligibility of a group of agricultural commodity producers for adjustment

      assistance under such Act.

(e) The Court of International Trade shall have exclusive jurisdiction of any civil

action commenced to review any final determination of the Secretary of the

Treasury under section 305(b)(1) of the Trade Agreements Act of 1979.

(f) The Court of International Trade shall have exclusive jurisdiction of any civil

action involving an application for an order directing the administering authority or

the International Trade Commission to make confidential information available

under section 777(c)(2) of the Tariff Act of 1930.

(g) The Court of International Trade shall have exclusive jurisdiction of any civil

action commenced to review--

      (1) any decision of the Secretary of the Treasury to deny a customs broker's

      license under section 641(b)(2) or (3) of the Tariff Act of 1930, or to deny a

      customs broker's permit under section 641(c)(1) of such Act, or to revoke a

      license or permit under section 641(b)(5) or (c)(2) of such Act;

                                         49
               Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 62 of 67




      (2) any decision of the Secretary of the Treasury to revoke or suspend a

      customs broker's license or permit, or impose a monetary penalty in lieu

      thereof, under section 641(d)(2)(B) of the Tariff Act of 1930; and

      (3) any decision or order of the Customs Service to deny, suspend, or revoke

      accreditation of a private laboratory under section 499(b) of the Tariff Act of

      1930.

(h) The Court of International Trade shall have exclusive jurisdiction of any civil

action commenced to review, prior to the importation of the goods involved, a

ruling issued by the Secretary of the Treasury, or a refusal to issue or change such

a ruling, relating to classification, valuation, rate of duty, marking, restricted

merchandise, entry requirements, drawbacks, vessel repairs, or similar matters, but

only if the party commencing the civil action demonstrates to the court that he

would be irreparably harmed unless given an opportunity to obtain judicial review

prior to such importation.

(i)

      (1) In addition to the jurisdiction conferred upon the Court of International

      Trade by subsections (a)-(h) of this section and subject to the exception set

      forth in subsection (j) of this section, the Court of International Trade shall

      have exclusive jurisdiction of any civil action commenced against the United




                                           50
              Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 63 of 67




      States, its agencies, or its officers, that arises out of any law of the United

      States providing for--

             (A) revenue from imports or tonnage;

             (B) tariffs, duties, fees, or other taxes on the importation of

             merchandise for reasons other than the raising of revenue;

             (C) embargoes or other quantitative restrictions on the importation of

             merchandise for reasons other than the protection of the public health

             or safety; or

             (D) administration and enforcement with respect to the matters

             referred to in subparagraphs (A) through (C) of this paragraph and

             subsections (a)-(h) of this section.

      (2) This subsection shall not confer jurisdiction over an antidumping or

      countervailing duty determination which is reviewable by--

             (A) the Court of International Trade under section 516A(a) of the

             Tariff Act of 1930 (19 U.S.C. 1516a(a)); or

             (B) a binational panel under section 516A(g) of the Tariff Act of 1930

             (19 U.S.C. 1516a(g)).

(j) The Court of International Trade shall not have jurisdiction of any civil action

arising under section 305 of the Tariff Act of 1930.




                                          51
                 Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 64 of 67




50 U.S.C. § 1702(a)(1). Presidential authorities

(a) In general

      (1) At the times and to the extent specified in section 1701 of this title, the

      President may, under such regulations as he may prescribe, by means of

      instructions, licenses, or otherwise--

             (A) investigate, regulate, or prohibit--

                     (i) any transactions in foreign exchange,

                     (ii) transfers of credit or payments between, by, through, or to

                     any banking institution, to the extent that such transfers or

                     payments involve any interest of any foreign country or a

                     national thereof,

                     (iii) the importing or exporting of currency or securities,

by any person, or with respect to any property, subject to the jurisdiction of the

United States;

             (B) investigate, block during the pendency of an investigation,

             regulate, direct and compel, nullify, void, prevent or prohibit, any

             acquisition, holding, withholding, use, transfer, withdrawal,

             transportation, importation or exportation of, or dealing in, or

             exercising any right, power, or privilege with respect to, or

             transactions involving, any property in which any foreign country or a

                                           52
       Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 65 of 67




      national thereof has any interest by any person, or with respect to any

      property, subject to the jurisdiction of the United States; and.

      (C) when the United States is engaged in armed hostilities or has been

      attacked by a foreign country or foreign nationals, confiscate any

      property, subject to the jurisdiction of the United States, of any

      foreign person, foreign organization, or foreign country that he

      determines has planned, authorized, aided, or engaged in such

      hostilities or attacks against the United States; and all right, title, and

      interest in any property so confiscated shall vest, when, as, and upon

      the terms directed by the President, in such agency or person as the

      President may designate from time to time, and upon such terms and

      conditions as the President may prescribe, such interest or property

      shall be held, used, administered, liquidated, sold, or otherwise dealt

      with in the interest of and for the benefit of the United States, and

      such designated agency or person may perform any and all acts

      incident to the accomplishment or furtherance of these purposes.

...




                                    53
              Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 66 of 67




                       STATEMENT OF RELATED CASES

     The following related case is pending: Webber v. U.S. Dep’t of Homeland

Sec., No. 4:25-cv-26 (D. Mont.), appeal docketed, No. 25-2717 (9th Cir. Apr. 28,

2025).




                                        54
                Case: 25-3493, 06/30/2025, DktEntry: 25.1, Page 67 of 67




                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT

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